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14                                       UNITED STATES DISTRICT COURT
15
                                              DISTRICT OF NEVADA
16
17
      CALVARY CHAPEL LONE MOUNTAIN, a Nevada )
18                                                          )
                      Non-profit Organization,
19                                                          )
                                    Plaintiffs,             )   Case No.: 2:20-cv 00907
20                                                          )   RFB-VCF
                                                            )
                             vs.
21                                                          )
                                                            )
22    THE HONORABLE STEPHEN F. SISOLAK, in his )                AMENDED
      official capacity as Governor of the State of Nevada, )   DECLARATION
23    AARON DARNELL FORD, in his official capacity as )
      the Attorney General of the State of Nevada, JUSTIN )
24    LUNA, in his official capacity as Chief of the Nevada )
25    Division of Emergency Management; DOES 1 through )
      100.                                                  )
26                                                          )
                             Defendants.                    )
27                                                          )
                                                            )
28                                                          )
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 1
                  AMENDED DECLARATION OF SIGAL CHATTAH, ESQ.
 2
 3          I, SIGAL CHATTAH, declare as follows:
 4
            1.    I am a licensed attorney in the State of Nevada since 2002 and a member of
 5
                  good standing with the State Bar of Nevada.
 6
            2.    On June 1, 2020, I submitted a Declaration in support of Plaintiffs’ Supplement
 7
 8                to Motion for Preliminary Injunction.

 9          3.    The Declaration was submitted for the purposes of providing information of
10                the origination of the photographs attached as Exhibits and to provide the
11
                  Court of information regarding Notice that was placed on Calvary Chapel over
12
                  the weekend of Pentecost Sunday.
13
            4.    Paragraph 6 of the Declaration provides an averment regarding Defendant
14
15                Ford’s warnings about Plaintiffs exceeding the 50 person mandate and the

16                enforcement of the Governor’s Directives regarding Calvary’s violation of the
17
                  Governor’s mandates.
18
            5.    Defendant Ford did not specify that the Pastor and/or congregants would
19
                  necessarily be arrested but warned that the mandate would be enforced.
20
21                Counsel understood this to be a warning as delineated in section 5 of Executive

22                Directive 7.
23          6.    Section 5 of Executive Directive 7 provides:
24
                  Any person who does not comply with Section 1 of this Directive, after
25                receiving notice from law enforcement, may be subject to criminal prosecution
                  and civil penalties under NRS 199.280, NRS 202.450, and another other
26                applicable statute, regulation, or ordinance. All law enforcement agencies in
27                the State of Nevada are authorized to enforce this Directive. The Office of the
                  Attorney General is given concurrent jurisdiction to prosecute violations of this
28                Directive.

                                                  2
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 1
            7.    That Emergency Orders filed and in the record attached to Plaintiffs’ Motion
 2
                  for Preliminary Injunction [ECF 11] authorizes law enforcement to arrest and
 3
                  prosecute under NRS 202.595 and 202. 450, which provide as follows:
 4
 5                NRS 202.595 Performance of act or neglect of duty in willful or wanton
                  disregard of safety of persons or property; penalty. Unless a greater penalty is
 6                otherwise provided by statute and except under the circumstances described
                  in NRS 484B.653, a person who performs any act or neglects any duty imposed
 7                by law in willful or wanton disregard of the safety of persons or property shall
 8                be punished:
                      1. If the act or neglect does not result in the substantial bodily harm or
 9                death of a person, for a gross misdemeanor.
                      2. If the act or neglect results in the substantial bodily harm or death of a
10                person, for a category C felony as provided in NRS 193.130.
11
                  NRS 202.450 is Nevada’s public nuisance statute which is intentionally
12
                  omitted herein for brevity.
13
            8.    While Defendant Ford did not use the word “arrest”, but used the term
14
15                “enforcement” which, under the code authorizes arrest and prosecution of at a

16                minimum, a gross misdemeanor.
17
            9.    That it is common knowledge to any lawyer, that probable cause would exist to
18
                  effectuate an arrest if Defendants found that the statute was violated.
19
            10.   That Counsel took the literal meaning of “enforcement” of the statute to
20
21                include arrest and prosecution.

22          11.   That it was not Counsel’s intention to misrepresent the communications to this
23                Court but a genuine misunderstanding of the “enforcement” warning
24
                  Defendants’ gave regarding congregants and the pastor exceeding the
25
                  maximum capacity, specifically when the statutory authority allows the arrest
26
27                and prosecution of a gross misdemeanor.

28    ///

                                                    3
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 1           12.     These are the facts as I know them to be true.
 2
             13.     Under NRS 53.045, I declare under penalty of perjury that the foregoing is true
 3
                     and correct.
 4
 5
             _/s/ __SIGAL CHATTAH__
 6           Declarant
             SIGAL CHATTAH, ESQ.
 7
 8
 9
10
11
12
13
                                     CERTIFICATE OF SERVICE
14
15    I hereby certify that on the 2nd day June, 2020, I served a copy of the foregoing

16    PLAINTIFFS’ AMENDED DECLARATION to all registered parties via E-service on the
17    CM/ECF registry
18
19                                           ____/s/ SIGAL CHATTAH___
                                               CHATTAH LAW GROUP
20
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                                                     4
